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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


  CHRISTOPHER MOEHRL, MICHAEL
  COLE, STEVE DARNELL, JACK RAMEY,
  DANIEL UMPA, and JANE RUH, on behalf               Case No.: 1:19-cv-01610
  of themselves and all others similarly situated,
                                                     Judge Andrea R. Wood
                         Plaintiffs,



       v.

  THE NATIONAL ASSOCIATION OF
  REALTORS, REALOGY HOLDINGS
  CORP., HOMESERVICES OF AMERICA,
  INC., BHH AFFILIATES, LLC HSF
  AFFILIATES, LLC, THE LONG & FOSTER
  COMPANIES, INC., RE/MAX LLC, and
  KELLER WILLIAMS REALTY, INC.,

                         Defendants.


                                       JOINT STATUS REPORT

        Pursuant to the Court’s Order (ECF No. 336), Plaintiffs Christopher Moehrl, Michael Cole,
Steve Darnell, Jack Ramey, Daniel Umpa, and Jane Ruh, on behalf of themselves and all others
similarly situated (“Plaintiffs”), and Defendant The National Association of Realtors® (“NAR”),
respectfully submit this Joint Status Report. Plaintiffs and NAR advise that they have resolved
their previous dispute over NAR’s calendar productions. Plaintiffs and NAR are continuing to
confer regarding the discovery of certain NAR recordings.




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DATED: July 21, 2022                          Respectfully submitted,


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